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                         SO U TH ER N D ISTR ICT O F FLO R IDA

                      CASE NO .19-CR-2O48O-SCOLA/TORRKS
   U N ITE D STAT ES O F A M ER ICA ,

   V S.

   M IC HA E L PA LO M INO ,

                D efendant.


                                    FA CT UA L PR O FFE R

          The U nited States Attorney's O ffice for the Southern District of Florida

   (ttthis Office'')and M ichaelPalom ino (hereinafter referred to as the ''defendanf')
   agree that had this case proceeded to trial,the U nited States w ould have proven,

   beyond a reasonable doubt, the follow ing facts, nm ong others, pertaining to a

   violation of Title 2 1, U nited States C ode, Section 846, w hich occurred in the

   Southern D istrict of Florida.

          1.    That the D efendant, on or about M ay 28, 20 19, in M iam i-D ade

   C ounty, in the Southern D istrict of Florida, and elsew here, did conspire to

   possess w ith intent to distribute a controlled substance, in violation ofTitle 2 1,

   U nited States Code,Section 846. This drug-distribution conspiracy involved 50

   gram s or m ore ofm etham phetam ine.

                O n or about M ay 28,20 19,the D efendantagreed via telephone calls

   and text m essages to sell Andres A cea tw o ounces of M etham phetnm ine for

   $1,000.00. TheDefendantand AndresAcea arranged to m eetin theparking1ot
   of a D ollar Tree store located at 780 1 NW 95th Street, H ialeah G ardens, FL
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   330 16, in order for the defendant to sell Andres Acea the tw o ounces of

   M etham phetnm ine.

         3.      O n or about M ay 28,20 19, the D efendant m et w ith Andres Acea in

   the parking 1ot of a D ollar Tree store located at 780 1 NW 95th Street, H ialeah

   Gardens, FL 33016 and provided Andres Acea approxim ately two ounces of

   M ethnm phetnm ine,and w aited for A ndres Acea to sellthe m ethnm phetam ine to

   a third individual.

                 Law enforcem entintercepted the D efendant in the parking 1ot ofthe

   D ollar Tree store and intercepted Andres Acea w ho w as in possession of

   approxim ately tw o ounces of M ethnm phetnm ine provided to him by the

   D efendant.

                 A laboratory analysis of the M ethnm phetnm ine recovered from the

   D efendant show ed that the tw o ounces of M etham phetnm ine the D efendant

   obtained w as M etham phetam ine H ydrochloride w ith a purity of the dn zgs of

   approxim ately 98 percent pure.
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            The inform ation contained in this proffer is not a com plete recitation ofthe

   facts and circum stances ofthis case,butthe parties agreeitis sufficientto prove

   Count 1 ofthe Indictm ent beyond a reasonable doubt.



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